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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────
GUY BRIZARD,

                         Petitioner,           11 Civ. 6033 (JGK)

             - against -                       MEMORANDUM OPINION AND
                                               ORDER
UNITED STATES OF AMERICA,

                    Respondent.
────────────────────────────────────

JOHN G. KOELTL, District Judge:

     The petitioner, Guy Brizard, appearing pro se, moves

pursuant to 28 U.S.C. § 2255 to vacate, set aside, or correct

his sentence.      On October 1, 2009, the petitioner pleaded guilty

pursuant to a plea agreement to three counts of an indictment

charging conspiracy, identity theft, and aggravated identity

theft.     On May 14, 2010, this Court sentenced the petitioner

principally to an aggregate sentence of 70 months imprisonment,

which was within the Stipulated Guideline Range in the Plea

Agreement.     Because the present petition is barred by the waiver

of collateral review in the Plea Agreement and is without merit

in any event, the petition is denied.



                                       I.

     On November 21, 2008, a Grand Jury returned a superseding

indictment charging the petitioner with the following crimes:

first, conspiracy, in violation of 18 U.S.C. § 371, to commit

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identity theft and wire fraud in violation of 18 U.S.C.

§§ 1028(a)(7), 1028A, and 1343; second, identity theft in

violation of 18 U.S.C. § 1028(a)(7); and, third, aggravated

identity theft in violation of 18 U.S.C. § 1028A.

     Prior to pleading guilty, the petitioner entered into a

Plea Agreement with the Government.       The Plea Agreement

stipulated to a base offense level of 21 or 23, depending on

whether this Court found that the defendant had obstructed

justice and should therefore be subject to a two-level

enhancement under § 3C1.1 of the Sentencing Guidelines.1          (Plea

Agr. at 4.)   Given the defendant’s criminal history category of

one, the parties stipulated that the Stipulated Guideline Range

was either 61 to 70 months imprisonment or 70 to 81 months

imprisonment depending on whether the Court found that the

defendant had obstructed justice.       (Plea Agr. at 4.)     The Plea

Agreement also provided that “the defendant will not file a

direct appeal, nor litigate under Title 28, United States Code,

Section 2255 and/or Section 2241, any sentence within or below

the Stipulated Guideline Ranges . . . .”        (Plea Agr. at 5.)

     The Court accepted the petitioner’s guilty plea on October

1, 2009.   During a thorough plea colloquy, the petitioner

affirmed that he fully understood the elements and penalties of


1
  The 2009 Sentencing Guidelines Manual was the Manual in effect
at the time of sentence.

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each offense charged, as well as the constitutional and trial

rights he would give up by entering a guilty plea.           (Plea Tr. 6-

21.)   The petitioner affirmed that he fully understood the Plea

Agreement before signing it, and that everything he understood

about his plea and sentence was contained in the agreement.

(Plea Tr. 24.)     The petitioner further affirmed his full

understanding of the provision in the Plea Agreement waiving his

right to appeal or collaterally challenge a sentence within the

Stipulated Guidelines Ranges.        (Plea Tr. 25-26.)     Indeed, the

petitioner affirmed that he understood that if the Court

sentenced him to a sentence of 81 months imprisonment or less,

he had given up his right to appeal or otherwise challenge any

such sentence in any proceeding, including any habeas corpus

proceeding.     (Plea Tr. 26.)    The petitioner also affirmed that

he was pleading guilty because he was in fact guilty and that he

was pleading guilty voluntarily and of his own free will.                (Plea

Tr. 31.)    He affirmed that no one had offered him any

inducements or threatened him or forced him to plead guilty or

to enter into the Plea Agreement.         (Plea Tr. 24-25.)     The

petitioner also affirmed that he was satisfied with his

attorney.    (Plea Tr. 5.)

       The Court held a sentencing hearing on May 14, 2010.              After

hearing arguments from both sides, the Court applied the

obstruction of justice enhancement, resulting in a Sentencing

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Guideline Range of 70-81 months imprisonment.           (Sent’g Tr. 15,

28.)2    The Court imposed a sentence consisting of 46 months each

for Counts One and Two, to run concurrently, and a sentence of

24 months for Count Three, to run consecutively to Counts One

and Two, resulting in an aggregate sentence of 70 months

imprisonment.      (Sent’g Tr. 32.)     The sentence imposed was

plainly within the Stipulated Guideline Range.            (See Plea

Agr. at 4.)

        The petitioner filed a timely appeal to the Court of

Appeals for the Second Circuit arguing that the consecutive

sentence imposed for Count Three violated the petitioner’s

protection from double jeopardy under the Fifth Amendment to the

United States Constitution and that his trial counsel’s failure

to raise this issue at sentencing violated the petitioner’s

Sixth Amendment right to effective assistance of counsel.                 On

June 16, 2011, the Court of Appeals dismissed the appeal.                 See

United States v. Brizard, 424 F. App’x 66 (2d Cir. 2011)

(summary order).      The Court of Appeals found that because none

of the exceptions to enforcement of an appellate waiver in a

plea agreement applied, and because the imposed sentence was



2
  While the Sentencing Transcript reflects a range of 70-87
months at page 28, the high end of the Range was 81 months as
reflected at page 15 and confirmed by adding the 24 months
mandatory consecutive term for Count Three to the 46-57 months
range for Counts One and Two.

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within the Stipulated Guideline Range, the appellate waiver

provision was enforceable, and effectively barred the appeal.

Id. at 67.

     By petition dated August 19, 2011, the petitioner moved,

pursuant to 28 U.S.C. § 2255, to vacate, set aside, or correct

his sentence.    The petitioner argues that his Sixth Amendment

right to effective assistance of counsel was violated because:

1) trial counsel provided misinformation that led the petitioner

to enter an unknowing and involuntary guilty plea; 2) trial and

appellate counsel failed to argue that an obstruction of justice

enhancement was improper under the Sentencing Guidelines;

3) trial counsel failed to object to the Indictment being

duplicative; 4) trial counsel failed to argue that the

petitioner’s pre-trial confinement should warrant a reduction in

his sentence; and 5) trial counsel failed to disclose to the

court fraud charges, unrelated to the current case, brought

against one of the Government agents involved in the

investigation.   The petitioner contends that he is entitled to

an evidentiary hearing on these issues.




                                   II.

     The Court of Appeals for the Second Circuit has repeatedly

held that waivers of the right to appeal contained in plea


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agreements are valid and enforceable.          See, e.g., United States

v. Lee, 523 F.3d 104, 106 (2d Cir. 2008); United States v.

Morgan, 406 F.3d 135, 137 (2d Cir. 2005); Garcia–Santos v.

United States, 273 F.3d 506, 509 (2d Cir. 2001) (per curiam).

The Court of Appeals has also held that knowing and voluntary

waivers of the right to litigate pursuant to § 2255 are valid

and enforceable.      See Frederick v. Warden, Lewisburg Corr.

Facility, 308 F.3d 192, 195 (2d Cir. 2002) (“There is no general

bar to a waiver of collateral attack rights in a plea

agreement.”) (citation omitted); Garcia–Santos, 273 F.3d at 509.

     The circumstances under which the Court of Appeals has

declined to enforce waivers of the right to appeal are very

limited.     As the Court of Appeals noted in Gomez–Perez, the

exceptions include situations:

     [W]hen the waiver was not made knowingly, voluntarily,
     and competently, when the sentence was imposed based
     on constitutionally impermissible factors, such as
     ethnic, racial or other prohibited biases, when the
     government breached the plea agreement, or when the
     sentencing court failed to enunciate any rationale for
     the defendant’s sentence . . . .

215 F.3d at 319 (internal citations omitted) (collecting cases).

     To the extent that a claim of ineffective assistance of

counsel challenges the process by which the Plea Agreement was

entered into, it can survive the waiver provision in a Plea

Agreement.     Parisi v. United States, 529 F.3d 134, 138 (2d Cir.

2008).     However, “[t]o raise a claim despite a guilty plea or

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appeal waiver, the petitioner must show that the plea agreement

was not knowing and voluntary, because the advice he received

from counsel was not within acceptable standards.”            Id.

(internal quotation marks and citations omitted).            The Court of

Appeals explained that, “[a]n ineffective assistance of counsel

claim survives the guilty plea or the appeal waiver only where

the claim concerns the advice [the defendant] received from

counsel.”     Id. (internal quotation marks and citation omitted)

(alteration in original); see also Garafola v. United States,

No. 09 Civ. 10280, 2012 WL 6622684, at *6-7 (S.D.N.Y. Dec. 20,

2012).



                                      A.

     The petitioner argues that the acceptance of his guilty

plea was involuntary and unknowing because it was predicated on

misrepresentations made by trial counsel.           Because this argument

relates to the negotiation and entry of the plea, it is not

procedurally barred by the waiver provision.           See Parisi, 529

F.3d at 138.      However, this argument is without merit.

     Courts apply the framework established in Strickland v.

Washington, 466 U.S. 668 (1984), to evaluate a § 2255 claim that

argues that a guilty plea was involuntary or unknowing due to

ineffective assistance of counsel.          See Hill v. Lockhart, 474

U.S. 52, 57-58 (1985) (applying Strickland to guilty pleas).              To

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establish a claim of ineffective assistance of counsel, the

petitioner must show both that 1) his counsel’s performance was

deficient in that it was objectively unreasonable under

professional standards prevailing at the time, and 2) his

counsel’s deficient performance was prejudicial to his case.

See Strickland, 466 U.S. at 687; Bunkley v. Meachum, 68 F.3d

1518, 1521 (2d Cir. 1995).

     To meet the first prong of this test, the petitioner must

establish that his counsel “made errors so serious that counsel

was not functioning as the ‘counsel’ guaranteed . . . by the

Sixth Amendment.”    Strickland, 466 U.S. at 687.       There is a

“strong presumption” that defense counsel’s conduct fell within

the broad spectrum of reasonable professional assistance, and a

petitioner bears the burden of proving “that counsel’s

representation was unreasonable under prevailing professional

norms and that the challenged action was not sound strategy.”

Kimmelman v. Morrison, 477 U.S. 365, 381 (1986) (citing

Strickland, 466 U.S. at 688-89).

     To meet the second prong of the Strickland test, the

petitioner must show that “there is a reasonable probability

that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.       A reasonable probability

is a probability sufficient to undermine confidence in the

outcome.”   Strickland, 466 U.S. at 694.

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     In the context of a guilty plea, the petitioner must show

that there is a reasonable probability that, but for the

challenged ineffective assistance, he would not have pleaded

guilty and would have insisted on going to trial.         United States

v. Couto, 311 F.3d 179, 187 (2d Cir. 2002), abrogated on other

grounds by, Padilla v. Kentucky, 559 U.S. 256 (2010); see also

Garcia-Giraldo v. United States, 691 F. Supp. 2d 500, 511

(S.D.N.Y. 2010).

     The petitioner argues that he received ineffective

assistance of counsel because his guilty plea was predicated on

false representations made by trial counsel.        Specifically, the

petitioner alleges that trial counsel falsely represented that

he could challenge both the obstruction of justice enhancement

and the loss amount at sentencing.       (Pet’r’s Mem. at 11-12.)

The petitioner asserts that he would not have accepted the

waiver if he thought that it would later prevent him from

challenging the loss amount and other relevant conduct.

(Pet’r’s Mem. at 11-12.)

     The petitioner’s argument fails to demonstrate that trial

counsel’s conduct was “objectively unreasonable” and thus does

not satisfy the first prong of Strickland.        See 466 U.S. at 687.

The petitioner’s argument with regard to the obstruction of

justice enhancement is misplaced.       The enhancement was not

stipulated to in the Plea Agreement, and trial counsel

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challenged the enhancement in the petitioner’s sentencing

submission and during the sentencing proceeding.        (See Plea Agr.

at 3; Sent’g Tr. 8-10; Answer, Ex. G. at 1-2.)

     The petitioner’s argument with regard to the loss amount is

also unpersuasive.   The petitioner’s statements made during his

plea allocution directly refute the contention that he believed

the loss amount could be challenged at sentencing.         A district

court can rely on a defendant’s sworn statements in open court

because such statements carry a strong presumption of truth,

which conclusory allegations cannot overcome.        See Blackledge v.

Allison, 431 U.S. 63, 73-74 (1977); United States v. Hernandez,

242 F.3d 110, 112-13 (2d Cir. 2001) (per curiam).         The Plea

Agreement clearly stipulated a loss amount of between $400,000

and $1 million.   (Plea Agr. at 3.)     The petitioner affirmed that

he read the Plea Agreement, discussed it with his lawyer, and

fully understood it.    (Plea Tr. 24.)    When asked whether the

Plea Agreement “constitute[s] your complete and total

understanding of the entire agreement between the government,

your lawyer and you[,]” the petitioner responded, “Yes, your

Honor.”   (Plea Tr. 24.)   Further, when asked whether “everything

that you understand about your plea and your sentence [is]

contained in this plea agreement,” the petitioner responded,

“Yes, your Honor.”   (Plea Tr. 24.)     These sworn statements

directly refute the petitioner’s subsequent claim that he could

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challenge the stipulated loss amount after the plea was entered.

Because the petitioner asserted that he understood everything

related to his plea and sentence to be contained within the

written agreement, the petitioner’s subsequent statement to the

contrary is unpersuasive, and the petitioner has failed to

satisfy the first prong of Strickland.       See 466 U.S. at 687.

     The petitioner also fails to demonstrate prejudice

sufficient to satisfy the second prong of Strickland.         See 466

U.S. at 687.   While the petitioner claims prejudice by arguing

that he would not have entered into the appellate waiver had

trial counsel not misrepresented the nature of the Plea

Agreement, there is nothing beyond this conclusory statement to

support this claim.    Because the petitioner has failed to

establish an ineffective assistance of counsel claim regarding

the negotiation and entry of his guilty plea, the waiver

provision contained in the Plea Agreement effectively bars the

petitioner’s remaining claims.     See Parisi, 529 F.3d at 138.



                                   B.

     In any event, the petitioner’s remaining claims are not

only barred by the waiver provision of the Plea Agreement, but

are also without merit.    The petitioner argues that both trial

and appellate counsel provided ineffective assistance of counsel



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by failing to argue that an obstruction of justice enhancement

was improper under the Sentencing Guidelines.

     The petitioner contends that because he pleaded guilty to a

violation of 18 U.S.C. § 1028A, Application Note Two to U.S.S.G.

§ 2B1.6 (“Note Two”) prohibits any enhancements to his sentence.

This is simply not correct.     U.S. Sentencing Guidelines Manual

(“U.S.S.G.”) § 2B1.6 cmt. n.6 (2009).       Section 2B1.6 is the

Guideline for “Aggravated Identity Theft” and applies the term

of imprisonment required by the statute.       U.S.S.G. § 2B1.6.

Note Two only prohibits enhancements related to “any specific

offense characteristic for the transfer, possession, or use of a

means of identification when determining the sentence for the

underlying offense” to which the § 1028A conviction applies.

U.S.S.G. § 2B1.6, cmt. n.2.     Consequently, if a defendant is

convicted under both § 1028A as well as an underlying offense,

an enhancement for the transfer, possession, or use of a means

of identification should not apply when determining the

appropriate Guideline Range for the underlying offense.          See

U.S.S.G. § 2B1.6, cmt. n.2.     Here, the petitioner was convicted

under § 1028A (Count Three), as well as the underlying offenses

of conspiracy to commit identity theft (Count One) and identity

theft (Count Two).   The Plea Agreement specifically recognized

the effect of Note Two, noting the inapplicability of an

enhancement under what was then § 2B1.1(b)(10)(C)(i) when

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determining the sentence for Counts One and Two.        (See Plea Agr.

at 3 (“Because the defendant will plead guilty in Count Three to

[1028A], there is no enhancement under U.S.S.G.

§ 2B1.1(b)(10)(C)(i).    See U.S.S.G. § 2B1.6, Appl. n.2.”).)3

Hence, the enhancement to the underlying offense that Note 2

precluded was not used in calculating the petitioner’s

Guidelines Sentencing Range.

     Because the petitioner’s reading of Note Two is incorrect,

the failure to challenge the Guideline calculation in the Plea

Agreement was correct, and there is no meritorious ineffective

assistance of counsel claim based on that calculation.



                                   C.

     The petitioner argues that trial counsel provided

ineffective assistance of counsel by failing to object to the

Indictment being “duplicious,” in violation of the Double

Jeopardy Clause.   (Pet’r’s Mem. at 5.)      The argument is really a

claim of multiplicity, but it is without merit.        Because this

argument does not relate to the negotiation and entry of the

guilty plea, it is effectively barred by the waiver provision

3
  Section 2B1.1(b)(10(C)(i) of the November 2009 Sentencing
Guidelines provided for a two-level enhancement for the
“unauthorized transfer or use of any means of identification
unlawfully to produce or obtain any other means of
identification.” That enhancement was not included in the Plea
Agreement. (See Plea Agr. at 3.)

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contained in the Plea Agreement.        See Parisi, 529 F.3d at 138.

However, this argument is without merit in any event.

     The Double Jeopardy Clause of the Fifth Amendment prohibits

a sentencing court from imposing “multiple punishments for the

same offense” in excess of the court’s legislative

authorization.   See United States v. Fiore, 821 F.2d 127, 130

(2d Cir. 1987) (quoting Brown v. Ohio, 432 U.S. 161, 165

(1977)).    “The question of what punishments are constitutionally

permissible is not different from the question of what

punishments the Legislative Branch intended to be imposed.

Where Congress intended, as it did here, to impose multiple

punishments, imposition of such sentences does not violate the

Constitution.”   Id. (quoting Albernaz v. United States, 450 U.S.

333, 344 (1981)) (internal quotation marks and alteration

omitted).

     The petitioner argues that his constitutional rights under

the Double Jeopardy Clause were violated because Count Two and

Count Three impermissibly imposed punishment for the same

underlying conduct.    Count Two of the Indictment charged the

petitioner with identity theft in violation of 18 U.S.C.

§§ 1028(a)(7), (b)(1)(D), (c)(3), and (2). (Indictment at 7-8).

Count Three charged the petitioner with aggravated identity

theft in violation of 18 U.S.C. §§ 1028A, (c)(5), and (2).

(Indictment at 8-9).    It is abundantly clear from the plain

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language of § 1028A that Congress intended for the statute’s

two-year additional punishment to be applied consecutive to “any

other term of imprisonment imposed on the person under any other

provision of law . . . .”     See 18 U.S.C. § 1028A(b)(2) (emphasis

added).

     Because Congress clearly intended punishment under § 1028A

to be imposed consecutive to punishment pursuant to other

statutes, Counts Two and Three of the Indictment were not

multiplicitous, and the petitioner’s argument is without merit.



                                        D.

     The petitioner argues that trial counsel provided

ineffective assistance by failing to seek a reduced sentence

based on the conditions of the petitioner’s pre-trial

confinement.   The appellate waiver provision contained in the

Plea Agreement bars this argument because it does not relate to

the negotiation and entry of the guilty plea.         See Parisi, 529

F.3d at 138.   In any event, this argument is without merit.

     District courts have “no obligation” to reduce a sentence

based on conditions of confinement.          United States v. Naranjo-

Ramirez, 402 F. App’x 576, 578 (2d Cir. 2010).          While a court

may choose to grant a downward departure under the Guidelines in

determining a Guideline Sentencing Range based on the conditions

of confinement such a departure is only appropriate “where the

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conditions in question are extreme to an exceptional degree and

their severity falls upon the defendant in some highly unique or

disproportionate manner.”     United States v. Mateo, 299 F. Supp.

2d 201, 208 (S.D.N.Y. 2004); see also United States v. Carty,

264 F.3d 191, 193, 197 (2d Cir. 2001) (per curiam) (remanding

for a consideration of a downward departure where the defendant

was detained in a Dominican prison along with three to four

other inmates in a four-foot by eight-foot cell with no light,

running water, or access to newspapers or radio, and the

defendant was only allowed ten to fifteen minutes per day

outside of his cell).

     The petitioner has failed to establish that the conditions

of his confinement were “extreme to an exceptional degree.”

Mateo, 299 F. Supp. 2d at 208.     The only evidence offered to

support the severity of the petitioner’s pre-trial confinement

is that he was threatened by a fellow inmate.        This evidence was

not sufficiently extreme to warrant the Court’s consideration at

sentencing, and trial counsel was not ineffective for failing to

raise the issue.   The Court also appreciates that it could take

conditions of confinement into account in making the ultimate

determination of the appropriate sentence for the petitioner

under 18 U.S.C. § 3553(a).     However, there is nothing in the

petitioner’s conditions of confinement that would have altered

the petitioner’s sentence in any way.       The petitioner also notes

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that he was attacked in prison, but this attack occurred after

the sentence was imposed, and trial counsel can hardly be

faulted for failing to raise this issue at sentencing.



                                   E.

     The petitioner argues that trial counsel provided

ineffective assistance by failing to raise at sentencing the

fact that the affiant for the search warrant to the petitioner’s

residence was indicted on federal fraud charges unrelated to the

investigation.   The appellate waiver provision contained in the

Plea Agreement bars this argument because it does not relate to

the negotiation and entry of the Plea Agreement.        See Parisi,

529 F.3d at 138.    Moreover, this argument is without merit.

     In considering an ineffective assistance of counsel claim

under Strickland, “there is a strong presumption that defense

counsel’s conduct fell within the broad spectrum of reasonable

professional assistance. . . .”      Ramirez v. United States, No.

09 Civ. 4397, 2011 WL 1795145, at *7 (S.D.N.Y. May 6, 2011)

(citation and internal quotation marks omitted).        Moreover,

“strategic choices made after thorough investigation of law and

facts relevant to plausible options are virtually

unchallengeable.”    Strickland, 466 U.S. at 690.

     Here, it was reasonable for trial counsel to fail to raise

this issue at sentencing.     The pre-trial motion to suppress this

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evidence was never decided, and was denied as moot, although

this Court also indicated that it would have denied the motion

on the merits also.    (See Plea Tr. 34.)     In the context of

sentencing, there is no reason why this impeachment evidence

would have affected the petitioner’s culpability or the sentence

imposed.   Because it was not error for trial counsel to fail to

raise this issue, the petitioner’s claim is without merit.



                                        F.

     Finally, the petitioner argues that he is entitled to an

evidentiary hearing on the issues set forth in his § 2255

motion.    Because the petitioner has failed to raise any issues

requiring such a hearing, this request is denied.

     A court may deny a § 2255 motion “without a testimonial

hearing where (1) the allegations of the motion, accepted as

true, would not entitle the petitioner to relief or (2) the

documentary record, including any supplementary submissions such

as affidavits, render a testimonial hearing unnecessary.”          Rosa

v. United States, 170 F. Supp. 2d 388, 398 (S.D.N.Y. 2001)

(citing Chang v. United States, 250 F.3d 79, 85-86 (2d Cir.

2001)).    Moreover, where, as in this case, the petitioner's

§ 2255 motion is before the same court as the original criminal

proceeding, the court “may rely on its own familiarity with the

case and deny the motion without a hearing” if the motion lacks

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“meritorious allegations that can be established by competent

evidence.”   Stokes v. United States, No. 00 Civ. 1867, 2001 WL

29997, at *2 (S.D.N.Y. Jan. 9, 2001) (quoting United States v.

Aiello, 900 F.2d 528, 534 (2d Cir. 1990)); see also Mittal v.

United States, No. 02 Civ. 8449, 2005 WL 2036023, at *4

(S.D.N.Y. Aug. 24, 2005).

     Because the petitioner’s arguments are procedurally barred

by the waiver provision in the Plea Agreement and are otherwise

without merit, there are no issues that require an evidentiary

hearing, and the petitioner’s request is denied.



                              CONCLUSION

     The Court has considered all of the arguments raised by the

parties.   To the extent not specifically addressed above, the

arguments are either moot or without merit.        The petitioner's

motion to vacate, set aside, or correct his sentence pursuant to

28 U.S.C. § 2255 is denied.     Because the petitioner has failed

to make a substantial showing of the denial of a constitutional

right, the Court declines to issue a certificate of

appealability pursuant to 28 U.S.C. § 2253.




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        The Clerk is directed to enter Judgment and to close this

case.    The Clerk is also directed to close any pending motions.

SO ORDERED.

Dated:       New York, New York
             April 30, 2013
                                           ____________/s/______________
                                                  John G. Koeltl
                                           United States District Judge




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